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17                   IN THE UNITED STATES DISTRICT COURT
18         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
19 PINN, INC.,                               Case No. 8:19-cv-1805-DOC-JDE
20                        Plaintiff,
                                             DEFENDANT APPLE INC.’S
21        v.                                 NOTICE OF MOTION AND
22                                           MOTIONS IN LIMINE NOS. 1-5 TO
     APPLE INC.,                             EXCLUDE CERTAIN ARGUMENT
23                       Defendant.          AND EVIDENCE RELATED TO
24                                           APPLE INC.
25                                               Trial Date:   March 16, 2021
26                                               Courtroom:    9D
                                                 Judge:        Hon. David O. Carter
27
28

                      DEFENDANT APPLE INC.’S MOTIONS IN LIMINE NOS. 1-5
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 1         TO PLAINTIFF AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE THAT on January 25, 2021 at 8:30 a.m., or as soon
 3   thereafter as the matter may be heard in the United States District Court, Central
 4   District of California, Southern Division, located at 411 West Fourth Street,
 5   Courtroom 9D, Santa Ana, CA 92701, before the Honorable David O. Carter,
 6   Defendant Apple Inc. (“Defendant”) will move, and hereby does present for hearing
 7   by this Court this Motion in Limine Nos. 1-5 to exclude certain argument and evidence
 8   related to Apple Inc.
 9         This motion is made pursuant to Fed. R. Civ. P. 26 and/or Federal Rules of
10   Evidence, as well as the Local Rules applicable thereto. This motion is based on this
11   notice of motion, the accompanying memorandum of points and authorities, the
12   omnibus declaration of Seth M. Sproul in support of the motion, any associated
13   exhibits, and such additional papers and arguments as may be presented at or in
14   connection with the hearing.
15         This motion is made following the conference of counsel pursuant to Local
16   Rules 7-3 and 16-2, which took place on December 23, 2020, and continued during
17   the weeks that followed leading up to the filing date of these motions.
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 3   Dated: January 8, 2021          FISH & RICHARDSON P.C.
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Apple Inc. (“Apple”) hereby moves in limine to exclude five
 4   categories of evidence in this case related to Apple, including: (i) any argument,
 5   evidence, or questions regarding unannounced, non-accused products; (ii) any
 6   argument, evidence, or questions as to unrelated litigations and investigations; (iii)
 7   any evidence regarding Apple’s foreign operations and contract manufacturers; (iv)
 8   any evidence regarding Apple witness compensation unrelated to this case; and (v)
 9   any evidence regarding Steve Jobs or political positions taken by Apple or its
10   leadership.
11   II.   LEGAL STANDARD
12         “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. Furthermore, even
13   if deemed relevant, “evidence may be excluded if its probative value is substantially
14   outweighed by the danger of unfair prejudice, confusion of the issues, or misleading
15   the jury[.]” Fed. R. Evid. 403.
16         “Although the trial court has substantial discretion in determining the evidence
17   to be admitted, the ultimate fact must be ‘of consequence to the determination of the
18   action,’ in the words of Federal Rule of Evidence 401.” Magnivision, Inc. v. Bonneau
19   Co., 115 F.3d 956, 961 (Fed. Cir. 1997). “In any trial there is a risk that in
20   McCormick’s phrase, ‘the sideshow will swallow up the circus.’ That is that side
21   issues of only tangential relevance will take up inordinate time and divert the jury
22   from the real issues in the case. The trial court’s weapons to prevent this [include]
23   the Federal Rule of Evidence 403[.]” Buckley v. Evans, No. 2:02-cv-01451, 2007 WL
24   2900173, at *4 & n.13 (E.D. Cal. Sept. 28, 2007).
25         Unfair prejudice under Rule 403 “involves an ‘undue tendency to suggest
26   decision on an improper basis, commonly, though not necessarily, an emotional
27   one.’” Larez v. City of Los Angeles, 946 F.2d 630, 641 n.5 (9th Cir. 1991) (quoting
28   Notes on the Advisory Committee on the 1972 Proposed Rules for Fed. R. Evid. 403).
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 1   “Probative value is determined by how likely the evidence is to prove some fact, not
 2   how important proof of that fact is to the proponent’s case.” Am. Home Assur. Co. v.
 3   Am. President Lines, Ltd., 44 F.3d 774, 779 (9th Cir. 1994).
 4   III.   ARGUMENT
 5          A.    Exclude Argument, Evidence, or Questions Regarding
                  Unannounced, Non-Accused Apple Products (MIL No. 1)
 6
 7          Pinn should be precluded from offering evidence or argument or asking
 8   questions about non-accused Apple products, including what Pinn has referred to as
 9   “secret” Apple products and unannounced Apple products. As a matter of corporate
10   policy, Apple does not discuss unannounced future products outside of Apple. When
11   Apple introduces a new product, its introduction is typically the first time the market
12   has learned about the product. Apple’s products can be worth billions of dollars, and
13   new information about any Apple unannounced product could shift markets
14   worldwide and severely prejudice Apple in the market. In line with this policy,
15   Apple’s engineers did not answer questions at their depositions about confidential
16   projects happening at Apple that are unrelated to the AirPods. Pinn did not escalate
17   the issue to the Court, and Apple understood it to be a moot issue.
18          However, Pinn has designated voluminous deposition testimony and objections
19   regarding Apple products that were under development at the time of depositions and
20   are not related to the AirPods. The following designations from Pinn are exemplary:
21          Q. And are you working on any Apple AirPods or Beats Projects
22          currently?
23          A. I am not.
24          Q. What are you doing now?
25          A. I cannot disclose.
26          Q. And why is that?
27          A. It’s unrelated, confidential, unreleased products that are not related to
28          audio products.

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 1   (See Ex. 1 to Sproul Decl. (Stiehl Deposition) at 7:1-10.) Pinn insisted on designating
 2   significant testimony about what it characterized as a “secret project” that Pinn
 3   suggested Mr. Stiehl wouldn’t “tell the jury about”:
 4         Q. Your current project, the secret project that you won’t tell the jury
 5         about, does it relate in any way to Bluetooth connectivity?
 6         A. I cannot disclose the features of the product that we’re working on
 7         unfortunately.
 8   (Id. at 15:22 – 16:1.) Indeed, Pinn spent an inordinate amount of time with Mr. Stiehl,
 9   who was as forthright as he could be that his current project had nothing to do with
10   earbuds or wireless headsets. (Id. at 7:6 – 19:23.)
11         This issue permeates testimony that Pinn designated across multiple Apple
12   technical witnesses, including Mr. Stiehl, Mr. Adams, and Mr. Watson. The witnesses
13   testified that Apple has policies precluding them from discussing such unannounced,
14   and non-accused, products, as seen in the testimony included above. And to avoid
15   doubt, Apple counsel permitted Pinn to ask questions to establish that the
16   unannounced products are not related to the products accused in this litigation, and
17   would thus not fall under the scope of Pinn’s assertions:
18         Mr. Sproul: Kevin, you used some particular language in your first
19         question and not in that question. Maybe if you asked him whether it
20         is an untethered wireless product with a charging case.
21         Mr. Kudlac: It’s like you took the words right out of my mouth. That’s
22         exactly what I was going to ask.
23         Q. Is the [codename] an untethered wireless headphone product with a
24         charging case?
25         A. No.
26         Q. Thank you. That will make all of our lives simpler.
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 1   (Sproul Decl., Ex. 2 (Adams Deposition) at 127:4-16.) As seen above, Mr. Stiehl also
 2   confirmed his current work was “not related to audio products.” Pinn also designated
 3   similar testimony from Mr. Watson.
 4         To the extent that Pinn took issue with Apple’s policy, and its engineers’
 5   insistence on maintaining that policy, Pinn never raised the issue with the Court.
 6   Thus, the time for discussion of any unannounced products has passed, and they are
 7   not part of the trial. These discussions are irrelevant to any issue in the case, it would
 8   be prejudicial to discuss them, and should be excluded for the reasons set forth below.
 9         First, evidence or arguments concerning unannounced and non-accused Apple
10   products should be excluded under Federal Rules of Evidence 401 and 402 because
11   they are not relevant to any question the jury will be asked to resolve. The pertinent
12   question before the jury is whether the Apple products Pinn has actually accused
13   infringe any of the asserted claims of the asserted patents—as articulated in Pinn’s
14   Memorandum of Contentions of Fact and Law. Pinn has not accused anything but
15   AirPods (first and second generation) and AirPods Pro. (ECF 329 at 6.) Non-accused
16   Apple products are irrelevant to that inquiry. See AVM Techs. LLC v. Intel Corp., No.
17   15-cv-33, 2017 WL 2983191, at *2 (D. Del. Apr. 19, 2017) (excluding evidence
18   concerning a non-accused “circuit in the four products at issue” because it was
19   “irrelevant”); Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., Ltd., No. 2:13-
20   cv-213, 2015 WL 627430, at *4 (E.D. Tex. Jan. 31, 2015) (precluding testimony or
21   argument concerning whether non-accused products do not infringe). The lone
22   exception is Apple’s PowerBeats Pro product, which Pinn had originally accused of
23   infringement but dropped from the case. Pinn’s damages experts Dr. Magee and Ms.
24   Hikino have offered opinions that the PowerBeats Pro is not a “non-infringing
25   alternative” for purposes of reasonable royalty damages. (ECF 229-1 (Expert Report
26   of Dr. Magee and Ms. Hikino) at ¶¶ 158-162 (also citing an “interview” with Pinn’s
27   expert Mr. Petro).) Thus, that non-accused product will be relevant to the trial.
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 1         Second, evidence or arguments concerning unannounced and non-accused
 2   Apple products should be excluded under Federal Rule of Evidence 403, because any
 3   probative value is outweighed by the unfair prejudice it would cause to Apple. As set
 4   forth above, there is no probative value to such testimony. References to a “secret
 5   project” that the witnesses would “not tell the jury about” are intended only to paint
 6   Apple in a bad light and to prejudice Apple. That Apple witnesses respected the
 7   company policy on unannounced products is not relevant to any issue, and Pinn would
 8   only play this testimony to suggest that Apple is secretive, malicious, or to suggest
 9   that the Apple witnesses had done something wrong in refusing to answer such
10   questions. They did not, and Pinn should be precluded from playing such testimony
11   or making such assertions to suggest that Apple had done something sneaky by not
12   discussing its unannounced products.      The engineers made clear that any such
13   products were outside the scope of the case, and consistent with those assertions,
14   Apple has not released any new product that Pinn would accuse of infringement.
15   Accordingly, discussion of unannounced and non-accused Apple products (except the
16   Powerbeats Pro) should be excluded from the trial.
17         B.     Exclude Argument, Evidence, or Questions as to Unrelated
                  Litigations and Investigations (MIL No. 2)
18
19         Pursuant to Federal Rules of Evidence 401, 402, and 403, Pinn should be
20   precluded from referring to or presenting evidence regarding any unrelated litigations
21   or investigations, with the exception of litigations discussed in the parties’ expert
22   reports. Pinn’s exhibit list includes several such documents, ranging from verdict
23   forms and other underlying materials from past cases against Apple (JTX-435-436,
24   536-567), to articles related to antitrust investigations involving Apple (JTX-464,
25   477), to Patent Office decisions regarding inter partes review for patents that are
26   unrelated to this case (JTX-568-570), to pleadings from non-patent matters involving
27   neither party that have no connection to this case (JTX-490-494). Such materials are
28   irrelevant to any issue the jury must decide, will likely confuse and mislead the jury,

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 1   and will prejudice Apple by requiring it to devote time and resources to irrelevant
 2   “trials within a trial.”
 3          The materials from other proceedings involving Apple that Pinn seeks to rely
 4   on have no overlap in asserted patents or accused products with the present case. Nor
 5   has Pinn shown that any of these other litigations involved patents comparable in
 6   scope or technology to the patents-in-suit to justify their relevance to this case. To
 7   the contrary, these litigations are not mentioned anywhere in Pinn’s expert reports,
 8   are not relevant to the calculation of damages, and were never mentioned in this case
 9   prior to the parties’ exchange of exhibit lists for trial. Accordingly, the Court should
10   exclude this evidence as irrelevant. See GPNE Corp. v. Apple Inc., No. 5:12-cv-2885,
11   Dkt. 319 at 1-2 (N.D. Cal. June 24, 2014) (finding “no relevance” of “litigation
12   between Apple and Samsung” where patents-in-suit differed); Arlington Indus. Inc.
13   v. Bridgeport Fittings, Inc., No. 3:01-cv-485, 2009 WL 2997923, at *1-2 (M.D. Pa.
14   Sept. 11, 2009) (excluding litigation regarding “entirely different patents” as
15   irrelevant); see also United HealthCare Corp. v. Am. Trade Ins. Co., 88 F.3d 563, 573
16   (8th Cir. 1996) (affirming exclusion of evidence of unrelated lawsuits where prior
17   lawsuits did not make a fact in the current case “more or less probable”).
18          Evidence regarding unrelated Apple litigations and investigations should also
19   be excluded due to its potential to prejudice, confuse, or distract the jury. See, e.g.,
20   In re Homestore.com, Inc., No. 2:01-cv-11115, 2011 WL 291176, at *1 (C.D. Cal.
21   Jan. 25, 2001) (excluding evidence of plaintiff’s involvement in prior lawsuits and
22   noting it “carries with it a high risk of prejudice”). For example, Pinn has included
23   verdict forms and final judgments showing the following damages awards against
24   Apple:
25       JTX-547: Verdict form from Optis Wireless Technology, LLC v. Apple Inc.
26          (E.D. Tex.) showing $506 million damages award;
27       JTX-549: Amended judgment from Wisconsin Alumni Research Foundation v.
28          Apple Inc. (W.D. Wisc.) showing $506 million damages award;
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 1       JTX-553: Verdict form from Qualcomm Incorporated v. Apple Inc. (S.D. Cal.)
 2         showing $31 million damages award;
 3       JTX-558: Verdict form from VirnetX Inc. v. Apple Inc. (E.D. Tex.) showing
 4         $502 million damages award;
 5       JTX-559: Verdict form from VirnetX Inc. v. Apple Inc. (E.D. Tex.) showing
 6         $502 million damages award;
 7       JTX-562: Final judgment from WiLan Inc. v. Apple Inc. (S.D. Cal.) showing
 8         $85 million damages award; and
 9       JTX-566: Final judgment from The California Institute of Technology v.
10         Broadcom Ltd., Broadcom Corp., Avago Ltd., and Apple Inc. (C.D. Cal.)
11         showing $1.1 billion damages award.
12   These damages awards have nothing to do with the present case, but if these numbers
13   were shown to the jury, they could have an inflammatory effect and could easily skew
14   the jury’s perception regarding damages. This should not be permitted.
15         Additionally, the prejudicial effect of creating “trials within a trial”
16   significantly outweighs any probative value of the evidence.           Indeed, if Pinn
17   introduced evidence from past or ongoing unrelated litigations or investigations,
18   Apple would be required to respond by providing the full context of those matters—
19   a time-consuming, confusing, and unnecessary sideshow. See Novartis Pharm. Corp.
20   v. Teva Pharm. USA, Inc., No. 05-CV-1887, 2009 WL 3754170, at *9 (D.N.J. Nov.
21   5, 2009) (excluding evidence of prior and collateral litigations because they are “likely
22   to result in unfair prejudice, confusion and undue delay”). For these reasons, the
23   Court should exclude argument, evidence, or questions as to Apple’s unrelated
24   litigations and investigations.
25         For similar reasons, the Court should also exclude materials from litigations
26   that involve neither of the parties. Pinn has included materials from two such cases
27   on its exhibit list: (i) Ashbury Heights Capital, LLC v. Factset Research Systems, Inc.
28   (Cal. Super. Ct. 2014); and (ii) Sandee Osborn v. Costco Wholesale Corp. (Cal. Super.
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 1   Ct. 2012). These cases were never mentioned in this case prior to their appearance
 2   on Pinn’s exhibit list. The Ashbury Heights case involves allegations made by the
 3   founders of a start-up regarding theft of their intellectual property, and could
 4   potentially be used by Pinn in an attempt to draw some sort of parallel to Sean Kim
 5   and Pinn. Such a comparison would be irrelevant, improper, and a distraction. The
 6   Sandee Osborn case involves allegations of wrongful termination and defamation,
 7   and does not appear to have any plausible tie to this case. It should also be excluded.
 8         Finally, the exhibits referenced herein (with the exception of JTX-464 and 477,
 9   articles related to antitrust investigations involving Apple) should be excluded for the
10   additional reason that they were untimely disclosed and were not produced during fact
11   discovery. This issue is addressed in more detail in Apple’s Motion in Limine No.
12   10.
13         C.     Exclude Evidence or Argument Regarding Apple’s Foreign
                  Operations and Contract Manufacturers (MIL No. 3)
14
15         Pinn should be precluded from offering any evidence or argument regarding
16   Apple’s foreign operations, including the size of Apple’s operations abroad, its
17   corporate tax structure, the location of Apple’s suppliers, manufacturers, or
18   assemblers, working conditions or labor issues, and any press concerning such issues.
19   Pinn has included documents on its exhibit list with references to these issues,
20   suggesting that Pinn may intend to pursue this line of argument at trial (JTX-357, 361,
21   391, 458, 509, 511). It should not be permitted to do so.
22         There is no dispute that Apple sells the accused products in the United States
23   (indeed, the parties have reached an agreement regarding a fact stipulation on this
24   exact issue), and the parties’ damages positions do not have anything to do with the
25   number of products Apple imports, as opposed to sells. The location of Apple’s
26   foreign partners, and any negative press reports about their working conditions or
27   labor issues, are not relevant to any issue in this case and would have no purpose other
28   than to invite a negative emotional jury response by suggesting unfairly that Apple

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 1   outsources jobs and does so under poor working conditions. Parthenon Unified
 2   Memory Architecture LLC v. Apple Inc., No. 2:15-cv-621-JRG-RSP, 2016 WL
 3   7743510, at *2 (E.D. Tex. Sept. 21, 2016) (excluding evidence regarding “the location
 4   of Apple’s suppliers, manufacturers, and press concerning the same, including
 5   working conditions or labor issues”).
 6         While Apple has no issue with a party identifying the existence of the contract
 7   manufacturers, or mentioning them by name in the abstract, Apple questions the
 8   relevance of any such information to this case. Apple concedes its products are
 9   manufactured outside the United States, but that is irrelevant here, as Apple has
10   stipulated to the fact that it sells the products in the United States. Furthermore,
11   evidence regarding the location of those contract manufacturers abroad has no bearing
12   on any question the jury will be asked to resolve and would serve only to invite a
13   negative emotional response from the jury. See Jinro Am. Inc. v. Secure Invs., Inc.,
14   266 F.3d 993, 1001, 1008 (9th Cir. 2001) (excluding testimony regarding “business
15   practices of Korean companies” because “the risk of racial or ethnic stereotyping is
16   substantial” and such testimony “invited the jury to distrust [plaintiff] by invoking an
17   ethnic, national stereotype”); see also Fabric Selection, Inc. v. NNW Import, Inc., No.
18   2-16-cv-08558-CAS, 2018 WL 1779334, at *9 (C.D. Cal. Apr. 11, 2018) (finding that
19   “any reference to China or Chinese companies . . . is irrelevant to defendants’ alleged
20   infringement or willfulness” and more prejudicial than probative under Rule 403).
21   Because any purported probative value is substantially outweighed by the danger or
22   unfair prejudice and confusion, evidence regarding Apple’s foreign operations should
23   be excluded. See Contentguard Holdings, Inc. v. Amazon.com., Inc., No. 2-13-cv-
24   01112-JRG, 2-14-cv-00061-JRG, 2015 WL 12915561, at *3 (E.D. Tex. Aug. 3, 2015)
25   (“The parties shall not refer to the location of Apple’s suppliers, manufacturers or
26   assemblers, and any press concerning those entities[.]”).
27
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 1         D.     Exclude Evidence or Argument Regarding Apple Witness
                  Compensation Unrelated to this Case (MIL No. 4)
 2
 3         Apple requests that the Court preclude the parties from offering evidence or
 4   argument relating to the compensation, stock options, net worth, or income of Apple’s
 5   employees. This information is not relevant to any issue in the case, including
 6   because Apple’s employees have no direct financial stake in the outcome of the case.
 7   Further, any alleged probative value of such information is substantially outweighed
 8   by the tendency of such questions to embarrass or harass the witness and confuse the
 9   jury, not to mention putting the individuals’ financial privacy at risk.
10         By contrast, there will be financial questions for Pinn’s witnesses that are
11   relevant to the case and should be permitted. Apple’s damages expert opines on the
12   value of Pinn, and some of these calculations are derived based on the amount of
13   money that certain witnesses (or their closely held companies) invested in Pinn or
14   were paid by Pinn. Apple should be permitted to pursue questions related to this issue
15   at trial because this real-world evidence about the value of the company shows how
16   Pinn’s damages experts have over-valued Pinn’s patents. In fact, one of the relevant
17   data points articulated by Apple’s damages expert is the valuation of the Pinn
18   corporation, including its patents, based on amounts paid by Pinn witnesses for shares
19   in the Pinn corporation. The same is not true with respect to these types of questions
20   as to Apple employees.
21         E.     Exclude Evidence Regarding Steve Jobs and Political Positions
                  Taken by Apple or Its Leadership (MIL No. 5)
22
23         The Court should exclude evidence regarding Steve Jobs, political positions
24   taken by Apple or its leadership, and any similar materials. Pinn has included this
25   type of evidence on its exhibit list, including statements allegedly made by Steve Jobs
26   about “stealing great ideas” (JTX-531, 532), articles describing how Steve Jobs
27   allegedly did not have a license plate on his car and would park in handicap parking
28
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 1   spaces (JTX-499, 500), and Congressional testimony from Apple executives
 2   regarding intellectual property issues (JTX-454).
 3         The irrelevance of these materials and prejudicial effect to Apple is exemplified
 4   by JTX-531 and JTX-532. Both exhibits (one an audio file, and one an article)
 5   reference the following purported statement from Steve Jobs: “Picasso had a saying,
 6   ‘Good artists copy, great artists steal.’ And we have always been shameless about
 7   stealing great ideas.” These statements were allegedly made by Mr. Jobs in 1994—
 8   more than 25 years ago—and have no connection to the asserted patents, the accused
 9   products, or Apple’s current practices; they should be excluded under Federal Rule of
10   Evidence 401 and 402. Additionally, these statements are inadmissible under Rule
11   403 because any purported probative value is substantially outweighed by the danger
12   of unfair prejudice and confusion. Introducing these statements, or similar evidence
13   regarding Apple or its leadership, invites an emotional response from the jury and
14   general hostility to Apple. See Bakst v. Cmty. Mem. Health Sys., Inc., No. CV 09-
15   08241 MMM, 2011 WL 13214315, at *24 (C.D. Cal. Mar. 7, 2011) (excluding
16   statements disparaging plaintiff’s former employer that presented “a potential risk of
17   unfair prejudice [because] the jury might react emotionally” to the contents). Finally,
18   these statements constitute inadmissible hearsay being offered for the truth—namely,
19   that Apple “steals” ideas. Therefore, the statements are hearsay with no applicable
20   exception, and should be excluded pursuant to Rule 802.
21         JTX-499 and JTX-500, which are articles describing how Steve Jobs allegedly
22   did not have a license plate on his car and would park in handicap parking spaces,
23   should be excluded for the same reasons. Pinn is likely to use these documents to
24   suggest that Steve Jobs did not follow—or was able to use his influence to get
25   around—the rules. Allegations about Mr. Job’s parking practices would have no
26   place in this trial even if he were still Apple’s CEO, but he passed away nearly 10
27   years ago. Such evidence is of no probative value here, would be highly prejudicial
28   to Apple, and constitutes inadmissible hearsay.
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 1             Unsurprisingly, courts have routinely excluded this type of evidence related
 2   to Mr. Jobs. See Core Wireless Licensing S.A.R.L. v. Apple Inc., No. 15-cv-05008
 3   NC, Dkt. 362 at 3 (N.D. Cal. Nov. 17, 2016) (excluding Mr. Jobs’ 1994 statements
 4   because they “would be prejudicial and confusing to the jury”); Core Wireless
 5   Licensing S.A.R.L. v. Apple Inc., No. 6-12-cv-100, Dkt. 359 at 48 (E.D. Tex. Dec. 18,
 6   2014) (same); Emblaze Ltd. Inc. v. Apple Inc., No. 511-cv-01079-PSC, Dkt. 519 at 3
 7   (N.D. Cal. June 19, 2014) (excluding “evidence or argument regarding alleged past
 8   misconduct and the alleged poor character of Apple or Steve Jobs”); Apple Inc. v.
 9   Samsung Elecs. Co., Ltd., No. 11-CV-01846-LHK, Dkt. 1267 at 4 (N.D. Cal. July 19,
10   2012) (same); Contentguard Holdings, Inc. v. Amazon.com, Inc., No. 2:13-cv-01112-
11   JRG, 2014 WL 11089490, at *5 (E.D. Tex. Sept. 4, 2014) (precluding plaintiffs from
12   offering argument, evidence, or testimony regarding statements made by Steve Jobs
13   to biography writer Walter Isaacson); Apple iPod iTunes Antitrust Litig., No. 05-cv-
14   0037-YGR, 2014 WL 12719192, at *4 (N.D. Cal. Nov. 18, 2014) (precluding
15   plaintiffs from offering evidence or eliciting testimony regarding Steve Jobs’
16   character).
17         Finally, Apple requests that the Court exclude any political statements made by
18   Apple or its leadership unrelated to this case. For example, Pinn seeks to introduce
19   congressional testimony from Apple employees from 2005 related to intellectual
20   property issues (JTX-454). Such evidence is a side-show that will distract from the
21   merits of the case and should be excluded.
22   IV.   CONCLUSION
23         Apple respectfully requests that the Court exclude the materials discussed
24   herein.
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